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R A [L IN THE UNITED STATES DISTRICT COURT = fli: asy
“ FOR THE NORTHERN DISTRICT OF TEXAS,

FORT WORTH DIVISION
UNITED STATES OF AMERICA
Vv. Criminal No, 4:23-CR-061-Y

MARK ANTHONY KIRKLAND (02)

WAIVER OF INDICTMENT

I, Mark Anthony Kirkland, the above named defendant, who is accused in the
Information with the felony offense of Conspiracy to Possess with Intent to Distribute, in
violation of 21 U.S.C. § 846, being advised of the nature of the charges, the proposed
Information, and of my rights, hereby waive prosecution by Indictment and consent that

the proceeding may be by Information rather than by Indictment.

Signed this ls day of June , 2023.
hong L AGL bn! aA
MARK ANTHONY KIRKLAND VINCENT WISELY

Defendant Attorney for Defendant
